     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 1 of 21 Page ID #:1



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14                           UNITED STATES DISTRICT COURT
15                         CENTRAL DISTRICT OF CALIFORNIA
16                                   SOUTHERN DIVISION
17    DRYBAR HOLDINGS LLC, a                )      Case No. 8:17-cv-2224
      Delaware limited liability company,   )
18                                          )      COMPLAINT FOR
                   Plaintiff,               )      TRADEMARK
19                                          )      INFRINGEMENT, TRADE
            v.                              )      DRESS INFRINGEMENT,
20                                          )      FALSE DESIGNATION OF
      PETSMART INC., a Delaware             )      ORIGIN, AND UNFAIR
21    corporation; FETCH . . . FOR PETS!; )        COMPETITION
      FETCH. . . FOR COOL PETS LLC, a )
22    New Jersey limited liability company; )
      and DOES 1-10,                        )      Jury Trial Demanded
23                                          )
                   Defendants.              )
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25         Plaintiff Drybar Holdings LLC (“Drybar”), by and through its attorneys, for its
26   Complaint against Defendants PetSmart, Inc. (“PetSmart”), Fetch . . . For Pets! and Fetch
27   . . . For Cool Pets LLC (collectively, “Fetch”), and Does 1-10 alleges as follows:
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 2 of 21 Page ID #:2



1                                  NATURE OF THE ACTION
2          1.     This case arises from Defendants’ flagrant attempt to trade off of Drybar’s
3    trademark and trade dress for their own economic gain.
4          2.     Drybar offers innovative, attractive, and popular hair products and services,
5    including its well-known dry shampoos and conditioners. These products are the result
6    of significant research combined with extensive brand-building and advertising efforts.
7    Drybar’s products and services are praised by consumers, celebrities, and the press for
8    their innovation and excellence.
9          3.     Upon information and belief, Fetch is in the business of making pet versions
10   of famous and successful consumer products. Fetch recently launched a line of
11   “Barkbar” pet grooming products, including dry shampoos, which use a trademark and
12   trade dress that are confusingly similar to those used by Drybar.
13         4.     Upon information and belief, in creating the Barkbar product line Fetch has
14   attempted to coopt Drybar’s valuable goodwill by willfully infringing Drybar’s federally-
15   registered DRYBAR trademark, which Drybar uses on a range of salon services and
16   products. There can be no doubt that Fetch selected the name BARKBAR to mimic
17   Drybar’s distinctive DRYBAR trademark. Both marks are depicted in similar lower case
18   serif-style font, as shown below.
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21         5.     In addition, confusion is compounded as the word marks are presented in the
22   context of similar overall packaging. Among other things, Fetch uses a distinctive color
23   scheme and matte finish similar to that of Drybar’s products. Fetch also copied Drybar’s
24   practice of using alcoholic beverage-inspired product names for its hair products.
25         6.     Not only does this exacerbate the trademark infringement, it also constitutes
26   trade dress infringement. As alluded to above, Fetch mimics Drybar’s distinctive
27   packaging in several ways:
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 3 of 21 Page ID #:3



1       • Fetch uses a similar pastel color palette;
2       • Fetch products have a similar matte finish;
3       • Fetch’s “Barkbar” logo appears in a similar lowercase serif-style font;
4       • Fetch uses the similar design feature of generally depicting its product names in
5          colors that are tonally similar to the overall package colors;
6       • Fetch uses a flat, simple icon of a dog that is similar to the flat, simple icon of a
7          blow dryer used by Drybar on its products;
8       • Fetch uses a single horizontal line in the middle of its product descriptions;
9       • Fetch’s aerosol products come in bottles that are the same shape as Drybar’s
10         aerosol products;
11      • Fetch’s aerosol products use a metal rim, white actuator, and clear cap that are
12         nearly identical to those used in Drybar’s aerosol products.
13   There can be doubt that Fetch’s packaging is designed to be confusingly similar to
14   Drybar’s distinctive trade dress used for its products, as shown in the image below
15   juxtaposing Drybar and Fetch products. This infringes Drybar’s trade dress rights in its
16   product and packaging designs.
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 4 of 21 Page ID #:4



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16         7.      Fetch’s blatant copying of Drybar’s mark and packaging is likely to cause
17   consumer confusion, mistake, and/or deceit as to the source, origin or association of its
18   products and services. This is particularly true given the similarity between the parties’
19   respective marks and trade dress and the fact that both parties offer grooming products.
20   In light of the strong goodwill that Drybar’s DRYBAR trademark and trade dress have
21   obtained throughout the United States, consumers easily could believe that Fetch, among
22   other things, is an affiliate of Drybar when in fact there is no connection between them
23   whatsoever.
24         8.      Adding insult to injury, upon information and belief, Fetch is well aware of
25   the need for permission to use others’ marks and related branding indicia for this type of
26   derivative tie-in product, and thus usually obtains licenses from the brands that it uses to
27   create its pet versions of consumer products. By contrast, here Fetch deliberately
28   launched a line of products designed to exploit the goodwill associated with Drybar’s


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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 5 of 21 Page ID #:5



1    trademark and trade dress without seeking, let alone obtaining, authorization from
2    Drybar, in violation of both the law and Fetch’s own prior practice.
3          9.     Barkbar products are exclusively sold at PetSmart stores and PetSmart is
4    also liable for trademark and trade dress infringement.
5          10.    For these reasons, and as explained further below, Drybar seeks injunctive
6    relief to stop Defendants’ infringing activities, as well as monetary damages and
7    attorneys’ fees to compensate Drybar for the harm it has suffered as a result of
8    Defendants’ infringement.
9                                          THE PARTIES
10         11.    Plaintiff Drybar Holdings LLC is a company organized and existing under
11   the laws of the State of Delaware with its principal place of business at 125 Technology
12   Drive, Irvine, California, 92618.
13         12.    Upon information and belief, Defendant PetSmart, Inc. is a Delaware
14   corporation with a place of business at 19601 North 27th Avenue, Phoenix,
15   Arizona 85027. Upon information and belief, PetSmart has 165 stores in California.
16         13.    Upon information and belief, Defendant Fetch . . . For Pets! is an entity with
17   a place of business at 1400 Broadway, New York, New York 10018.
18         14.    Upon information and belief, Defendant Fetch . . . For Cool Pets LLC is a
19   New Jersey limited liability company with a place of business at 115 Kennedy Drive,
20   Sayreville, New Jersey 08872 and/or at 1400 Broadway, New York, New York 10018.
21         15.    Upon information and belief, Defendant Fetch . . . For Pets! is a subsidiary,
22   affiliate, or alias of Defendant Fetch . . . For Cool Pets LLC.
23         16.    Drybar currently is unaware of the true names and capacities, whether
24   individual, corporate, associate, or otherwise, of Defendant Does 1 through 10, inclusive,
25   or of any of them individually. Drybar therefore sues these Defendants by such fictitious
26   names. Drybar will seek leave of Court to amend this Complaint when the identities of
27   these Defendants are ascertained.
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 6 of 21 Page ID #:6



1          17.    Upon information and belief, Defendants have sold BARKBAR products
2    throughout the United States both online and in retail stores, including in this District.
3                                  JURISDICTION AND VENUE
4          18.    This action arises under the federal Lanham Act, 15 U.S.C. § 1051, et seq.,
5    and the related laws of the State of California. This Court has jurisdiction over the
6    subject matter of this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331,
7    1338(a) and (b). Further, this Court has supplemental jurisdiction over Drybar’s state-
8    law claims pursuant to 28 U.S.C. § 1367(a) because those claims are substantially related
9    to Drybar’s federal claims.
10         19.    This Court has personal jurisdiction over Fetch and PetSmart and venue is
11   proper in this district pursuant to 28 U.S.C. § 1391 because Drybar is located and is being
12   harmed in this district, because, upon information and belief, Fetch and PetSmart conduct
13   business and sell their products in this district, and/or because the activities about which
14   Drybar complains have taken place and are continuing to take place in this district.
15                                  FACTUAL ALLEGATIONS
16                                    Drybar and Its Products
17         20.    Drybar is the owner of an acclaimed line of creative salons and hair
18   products. Drybar has over 88 salons across the United States, including 25 in Southern
19   California. Drybar products are sold at Sephora, Ulta and Nordstrom, in select
20   Bloomingdales stores, in Drybar salons, and on Drybar’s website.
21         21.    Since at least 2010, Drybar has used DRYBAR as a trademark and service
22   mark in connection with its salons and hair care products.
23         22.    As noted above, Drybar uses a distinctive lowercase serif-style font when
24   presenting its DRYBAR mark.
25         23.    Drybar products primarily appear in distinctive pastel-colored packaging
26   with a matte finish. In addition, many Drybar products are named after beverages, such
27   as “Sparkling Soda,” “Whiskey Fix,” “Texas Tea,” “Lemon Drop,” “Money Maker,” and
28   “Triple Sec.”


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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 7 of 21 Page ID #:7



1           24.   Drybar is particularly known for its innovative approach to salons. By
2    focusing exclusively on “blowout” blow-drying services and emphasizing the customer
3    experience, Drybar has created a brand valued by consumers for its standard of
4    excellence. Indeed, Drybar was named one of the “100 Brilliant Ideas of 2010” by
5    Entrepreneur Magazine.1
6           25.   Drybar also has come to be well-known for its haircare products, in
7    particular its dry shampoos and conditioners. Drybar’s DRYBAR-branded products have
8    been featured by such television programs as The Today Show, Good Morning America,
9    Katie Couric, Access Hollywood, Entertainment Tonight, as well as by magazines and
10   newspapers such as InStyle, Elle, Vanity Fair, Allure, Vogue, BusinessWeek, Bloomberg,
11   The New York Times, Forbes, The Washington Post, The New Yorker, People, CNBC,
12   and US Weekly. Drybar also was the subject of The New York Times-bestselling book,
13   The Drybar Guide to Good Hair for All. In addition, Drybar’s DRYBAR-branded
14   products have received numerous celebrity endorsements and have appeared in television
15   shows and movies. Drybar’s services and products also have won numerous industry and
16   consumer awards, including but not limited to Nylon’s 2017 “Best Round Brush” award;
17   Boston Magazine’s 2017 “Best of Boston” award; O Magazine’s Fall 2017 “Beauty O-
18   ward”; Las Vegas Review Journal’s 2017 “Best of Las Vegas” award; NewBeauty’s 2017
19   and 2016 “Choice Awards”; Cosmetic Executive Women’s 2016 “Hair-Spiration”
20   award; Total Beauty’s 2016 “Editor’s Pick” award; Brides Magazine’s 2014 “Best Hair
21   Dryer” award; and Ok! Magazine’s 2013 award for “Hair Must-Haves.”
22          26.   In addition to its core salon service and haircare product business, Drybar
23   has undertaken a series of brand extensions into additional products such as blow dryers,
24   curling wands, brushes and combs, hair clips, pillowcases, shower caps, apparel, scented
25   candles, and tote bags.
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         https://www.entrepreneur.com/article/206722.

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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 8 of 21 Page ID #:8



1          27.    The products and services offered, sold, and advertised in connection with
2    the DRYBAR mark have generated substantial revenue. Buzzfeed reported that Drybar’s
3    2016 revenue was over $100 million.2
4          28.    Drybar also has expended significant amounts of money over the years
5    advertising and promoting its products and services throughout the United States under
6    the DRYBAR mark in various media and forms.
7                            Drybar’s Trademarks and Trade Dress
8          29.    Drybar is the owner of various trademark registrations in the DRYBAR
9    mark, including U.S. Trademark Registration Nos. 4,043,735; 4,354,273; 4,423,969;
10   4,442,715; 5,044,864; and 5,281,444. Drybar’s registrations include both its standard
11   character mark as well as the stylized version of its logo. Copies of the certificates of
12   registration for this mark are attached hereto as Exhibit A.
13         30.    The registrations set forth in Exhibit A constitute prima facie evidence of
14   Drybar’s ownership of and exclusive rights to use the DRYBAR mark in connection with
15   the good and services recited in the registrations.
16         31.    Drybar also owns and has maintained common law rights to the DRYBAR
17   mark by virtue of its bona fide use in commerce of the mark throughout the United
18   States.
19         32.    Drybar has established valuable trademark rights and goodwill in the
20   DRYBAR mark by virtue of its continuous use since 2010 and registration of that
21   trademark, the substantial promotional and marketing efforts under that trademark, the
22   expenditure of vast sums in advertising and promotional activities under that trademark,
23   the substantial sales of products and services offered under that trademark, and third-
24   party acclaim and attention.
25         33.    Since at least 2012, Drybar has used an inherently distinctive and non-
26   functional trade dress packaging for its products (the “Pastel Trade Dress”). This
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         https://www.buzzfeed.com/sapna/hot-air-millionaires-how-drybar-became-a-100-
28       million-busines?utm_term=.pcYebxgNY#.tn7ZQ9zXn.

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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 9 of 21 Page ID #:9



1    inherently distinctive trade dress consists of packaging with pastel colors and having a
2    matte finish. The top of the bottle contains a simple, flat design of a blow dryer shown
3    from the side. Drybar’s DRYBAR mark appears in lowercase letters in a serif-style font
4    on the front of the bottle towards the bottom. The product name appears in the center of
5    the package in a color that is generally tonally similar to the packaging color (or, in the
6    case of yellow packaging, a soft grey color). A single line or band appears in the middle
7    of the product description. Examples of the Pastel Trade Dress include the following:
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20         34.    Drybar’s products sold using the Pastel Trade Dress have generated
21   significant revenue. Drybar has invested substantial sums in advertising and promotional
22   expenditures for these products.
23         35.    As a result of Drybar’s efforts, the Pastel Trade Dress has become well and
24   favorably known as indicating haircare products manufactured by Drybar. The Pastel
25   Trade Dress has acquired secondary meaning in the eyes of consumers.
26                                      Fetch’s Business Model
27         36.    Upon information and belief, Fetch is the manufacturer and retailer of
28   various products for pets, in particular grooming products.


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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 10 of 21 Page ID #:10



1           37.    Upon information and belief, Fetch’s primary business model consists of
2     using trademarks associated with well-known brands, such as BURT’S BEES and ARM
3     & HAMMER, to market versions of the products made by these well-known brands for
4     use by or for pets. Fetch’s website, www.Fetch4Pets.com, explains that “Fetch has been
5     the leading pet product manufacturer bringing major [consumer packaged goods] brands
6     to the pet industry since 2008. We develop cross category pet product lines based on
7     retail and market demand as well as industry trends.”
8           38.    Upon information and belief, examples of the pet-oriented brand extensions
9     created by Fetch include the following:
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22          39.    Upon information and belief, Fetch typically obtains a license before using
23    the trademark(s) or trade dress of the brand for which it creates pet-oriented products.
24          40.    Fetch’s promotional materials describe some of its licensing “success
25    stories,” as show below. For example, Fetch describes “work[ing] with” the Clorox
26    Company to develop its line of Fresh Step and Glad branded pet products.
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 11 of 21 Page ID #:11



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16                Fetch’s Infringement of Drybar’s Trademark and Trade Dress
17          41.    Unlike the other brand extensions that Fetch has created, Fetch does not
18    have a license to use Drybar’s trademark or trade dress.
19          42.    Nevertheless, in or about mid-2017, Fetch deliberately launched a line under
20    the BARKBAR mark using branding and packaging that is confusingly similar to
21    Drybar’s DRYBAR mark and Pastel Trade Dress:
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 12 of 21 Page ID #:12



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13          43.    Upon information and belief, the BARKBAR product line currently is sold
14    nationwide exclusively at PetSmart stores and on PetSmart’s website.
15          44.    Upon information and belief, Fetch has not registered any trademarks or
16    trade dress related to the Barkbar product line.
17          45.    The Barkbar products all are sold under a BARKBAR mark that is
18    confusingly similar to Drybar’s DRYBAR mark, both with respect to the use of the word
19    “bar” and in the use of a lowercase serif-style font and pastel coloring that is nearly
20    identical to the font and color scheme that Drybar uses on its products. Upon information
21    and belief, Fetch’s use of a similar mark depicted in a similar manner reflects a deliberate
22    effort to evoke Drybar’s products and trade off its goodwill in its DRYBAR mark.
23          46.    Upon information and belief, Fetch’s BARKBAR product names, such as
24    “Peach Bellini,” “Pina Colada,” “Lemon Drop,” and “Red Sangria,” also are designed to
25    evoke Drybar’s use of beverage-themed names for its products. Indeed, Fetch’s Lemon
26    Drop dry shampoo has the same name as Drybar’s Lemon Drop detangling hair brush.
27          47.     Fetch’s BARKBAR products also use packaging that is confusingly similar
28    to Drybar’s Pastel Trade Dress (the “Infringing Packaging”).


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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 13 of 21 Page ID #:13



 1          48.   The Infringing Packaging uses a variety of pastel colors and a matte finish,
 2 just like the Pastel Trade Dress. The top of Fetch’s Infringing Packaging contains a
 3 simple and flat design of a dog, similar to the simple and flat design of a blow dryer
 4 contained in the Pastel Trade Dress. The BARKBAR name appears in lowercase letters in
 5 a serif-style font, like the DRYBAR mark in the Pastel Trade Dress. Like the Pastel Trade
 6 Dress, the Infringing Packaging generally depicts the product name using a color that is
 7 tonally similar to the packaging color. Even in the few instances in which the Pastel
 8 Trade Dress uses a tonally distinct color, such as the grey text on yellow packaging used
 9 in Drybar’s “Southern Belle” products, the Infringing Packaging utilizes the same grey-
10 on-yellow packaging, as shown below. Additionally, as shown below, aerosol versions of
11 the Infringing Packaging utilize the same bottle shape, metal band, white actuator, and
12 clear cap as the aerosol version of the Pastel Trade Dress. The net effect of the Infringing
13 Packaging is to make it seem as though BARKBAR products are the latest brand
14 extension undertaken by Drybar. Fetch thus has unilaterally usurped Drybar’s goodwill in
15 a false and misleading fashion.
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 14 of 21 Page ID #:14



1                            Defendants’ Activities Will Harm Drybar
2           49.    Defendants’ use of the BARKBAR mark and the Infringing Packaging has
3     damaged and irreparably injured and, if permitted to continue, will further damage and
4     irreparably injure Drybar, including its reputation and the goodwill associated with the
5     the DRYBAR mark and Pastel Trade Dress. Defendants’ use of the BARKBAR mark
6     and the Infringing Packaging also is detrimental to the public’s interest in being free from
7     confusion as to the source, sponsorship, and/or affiliation of Fetch’s products and
8     services.
9           50.    Defendants’ use of the BARKBAR mark and the Infringing Packaging is
10    likely to cause confusion, mistake, and/or deception as to the source or origin of
11    Defendants’ products and services and commercial activities, and is likely to falsely
12    suggest a sponsorship, connection, license, and/or association of Defendants and/or their
13    products and services with Drybar and/or its products and services. Drybar, moreover,
14    has no assurances that Defendants’ products are of the same quality that Drybar’s
15    customers have come to expect. Thus, Drybar’s hard-earned goodwill is at the mercy of
16    Defendants because consumers who are unhappy with the quality of Defendants’
17    products might blame Drybar or assume that Drybar’s products are also deficient.
18          51.    On August 15, 2017, Drybar sent Fetch a letter demanding that Fetch
19    immediately cease its use of the BARKBAR mark and the Infringing Packaging.
20    PetSmart was copied on this letter. The letter is attached hereto as Exhibit B.
21          52.    Fetch denied infringing Drybar’s intellectual property in a letter sent on
22    August 24, 2017.
23          53.    On or about September 7, 2017, Robert Stone of Excel Branding sent Drybar
24    an e-mail offering to “mediate” the dispute between Drybar and Fetch and proposing that
25    Fetch become a licensee for Drybar. Stone also sent Drybar a PDF on behalf of Fetch in
26    an email on September 22, 2017, explaining Fetch’s prior efforts to use well-known
27    consumer brands in marketing pet products. The PDF also proposed a line of Drybar-
28    branded products to be sold by Fetch. The PDF is attached hereto as Exhibit C.


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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 15 of 21 Page ID #:15



1           54.     After meeting with representatives of Fetch on November 2, 2017, Drybar
2     determined that it had no interest in accepting Fetch’s licensing proposal. Defendants
3     have not ceased their use of the BARKBAR mark or Infringing Packaging.
4           55.     Defendants’ infringing conduct is continuing and likely to continue,
5     constituting an ongoing and growing threat to Drybar and its valuable DRYBAR mark
6     and Pastel Trade Dress, and the goodwill associated therewith. Upon information and
7     belief, Fetch intends to launch additional products under the infringing BARKBAR mark.
8     Indeed, as shown in Exhibit C, the proposed products in Fetch’s September 2017
9     licensing pitch included products such as canine moisturizers and conditioners.
10          56.     Upon information and belief, Fetch was aware of Drybar’s prior rights in the
11    DRYBAR mark and the Pastel Trade Dress before selecting and using the BARKBAR
12    mark and the Infringing Packaging, and has acted willfully in creating, marketing and
13    selling its BARKBAR products despite knowing full well that it had never sought, let
14    alone obtained, Drybar’s authorization before launching its BARKBAR product line.
15          57.     Upon information and belief, PetSmart was aware of Drybar’s prior rights in
16    the DRYBAR mark and the Pastel Trade Dress and has acted in willfully in selling
17    BARKBAR products despite knowing that these products infringe Drybar’s rights.
18                                               COUNT I
19                Trademark Infringement Under Section 32(a) of the Lanham Act
20                                          (15 U.S.C. § 1114(a))
21          58.     Drybar repeats and realleges the allegations set forth in Paragraphs 1-57
22    above as if fully set forth herein.
23          59.     Without Drybar’s consent, Defendants have used and continue to use in
24    commerce the infringing BARKBAR mark, as described above, in connect with the
25    offering, sale, and advertising of grooming products, which is likely to cause confusion,
26    or to cause mistake, or to deceive, in violation of Section 32 of the Lanham Act, 15
27    U.S.C. § 1114.
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 16 of 21 Page ID #:16



1           60.    Upon information and belief, Defendants had actual and/or constructive
2     knowledge of Drybar’s rights prior to using their infringing BARKBAR mark. Upon
3     information and belief, the actions of Defendants described above have at all times
4     relevant to this action been willful.
5           61.    As a direct and proximate result of the actions of Defendants alleged above,
6     Drybar has been damaged and will continue to be damaged.
7           62.    Drybar has no adequate remedy at law and is entitled to an injunction
8     restraining Defendants from engaging in further acts of infringement.
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10                                             COUNT II
11       Trademark Infringement, False Designation of Origin, and Unfair Competition
12                          Under Section 43(a)(1)(A) of the Lanham Act
13                                     (15 U.S.C. § 1125(a)(1)(A))
14          63.    Drybar repeats and realleges the allegations set forth in Paragraphs 1-62
15    above as if fully set forth herein.
16          64.    The actions described above of Defendants are likely to cause confusion,
17    mistake, or deception as to the origin, sponsorship, or approval of the products and
18    services and commercial activities of Defendants, and thus constitute trademark
19    infringement, false designation of origin, and unfair competition with respect to the
20    DRYBAR mark, in violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. §
21    1125(a)(1)(A).
22          65.    Upon information and belief, Defendants had actual and/or constructive
23    knowledge of Drybar’s rights prior to using their infringing BARKBAR mark. Upon
24    information and belief, the actions of Defendants described above have at all times
25    relevant to this action been willful.
26          66.    As a direct and proximate result of the actions of Defendants alleged above,
27    Drybar has been damaged and will continue to be damaged.
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 17 of 21 Page ID #:17



1           67.    Drybar has no adequate remedy at law and is entitled to an injunction
2     restraining Defendants from engaging in further acts of infringement, false designation of
3     origin, and unfair competition.
4
5                                              COUNT III
6       Trade Dress Infringement, False Designation of Origin, and Unfair Competition
7                           Under Section 43(a)(1)(A) of the Lanham Act
8                                       (15 U.S.C. § 1125(a)(1)(A))
9           68.    Drybar repeats and realleges the allegations set forth in Paragraphs 1-67
10    above as if fully set forth herein.
11          69.    Without Drybar’s consent, Defendants used and continue to use in
12    commerce packaging that is confusingly similar to Drybar’s inherently distinctive and
13    non-functional Pastel Trade Dress, as described above, in connect with the offering, sale,
14    and advertising of grooming products. These actions are likely to cause confusion,
15    mistake, or deception as to the origin, sponsorship, or approval of the products and
16    services and commercial activities of Defendants, and thus constitute trade dress
17    infringement, false designation of origin, and unfair competition with respect to the Pastel
18    Trade Dress, in violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. §
19    1125(a)(1)(A).
20          70.    Upon information and belief, Defendants had actual and/or constructive
21    knowledge of Drybar’s rights prior to using their infringing Barkbar product packaging.
22    Upon information and belief, the actions of Defendants described above have at all times
23    relevant to this action been willful.
24          71.    As a direct and proximate result of the actions of Defendants alleged above,
25    Drybar has been damaged and will continue to be damaged.
26          72.    Drybar has no adequate remedy at law and is entitled to an injunction
27    restraining Defendants from engaging in further acts of infringement, false designation of
28    origin, and unfair competition.


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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 18 of 21 Page ID #:18



1                                              COUNT IV
2                                           Unfair Competition
3                                  (Cal. Bus. & Prof. Code § 17200)
4           73.     Drybar repeats and realleges the allegations set forth in Paragraphs 1-72
5     above as if fully set forth herein.
6           74.     In the course of conducting their business, Defendants’ conduct—
7     specifically, Defendants’ use of confusingly similar variations of Drybar’s DRYBAR
8     mark and Pastel Trade Dress in a manner that is likely to cause consumer confusion—
9     constitutes unfair competition and unfair business practice in violation of California
10    Business and Professions Code § 17200.
11          75.     Defendants’ actions, as alleged above, are unlawful, unfair and/or fraudulent
12    within the meaning of California Business and Professions Code § 17200.
13          76.     Upon information and belief, the actions of Defendants described above
14    have at all times relevant to this action been willful.
15          77.     As a direct and proximate result of the actions of Defendants alleged above,
16    Drybar has suffered economic injury and will continue to suffer economic injury.
17          78.     Drybar has no adequate remedy at law and is entitled to an injunction
18    restraining Defendants from engaging in further acts of unfair competition.
19
20                                              COUNT V
21                         Trademark and Trade Dress Infringement and
22                                          Unfair Competition
23                                     (California Common Law)
24          79.     Drybar repeats and realleges the allegations set forth in Paragraphs 1-78
25    above as if fully set forth herein.
26          80.     The actions described above of Defendants constitute trademark
27    infringement, trade dress infringement, and unfair competition under the common law of
28    California.


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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 19 of 21 Page ID #:19



1           81.      Upon information and belief, Defendants had actual and/or constructive
2     knowledge of Drybar’s rights prior to using their infringing BARKBAR mark and
3     infringing product packaging. Upon information and belief, the actions of Defendants
4     described above have at all times relevant to this action been willful.
5           82.      As a direct and proximate result of the actions of Defendants alleged above,
6     Drybar has been damaged and will continue to be damaged.
7           83.      Drybar has no adequate remedy at law and is entitled to an injunction
8     restraining Defendants from engaging in further acts of infringement and unfair
9     competition.
10
11                                      PRAYER FOR RELIEF
12          WHEREFORE, Drybar prays that this Court enter judgment in its favor on each
13    and every claim for relief set forth above and award it relief including, but not limited to,
14    the following:
15          1.       An Order declaring that Defendants’ use of the BARKBAR mark infringes
16    Drybar’s DRYBAR mark, that Defendants’ use of packaging that is confusingly similar
17    to Drybar’s packaging infringes Drybar’s Pastel Trade Dress, and that Defendants’
18    actions constitute unfair competition under federal and/or state law, as detailed above;
19          2.       An injunction permanently enjoining Defendants and their employees,
20    officers, directors, principals, subsidiaries, parents, affiliates, related companies, brokers,
21    agents, and all persons in active concert or participation with any of them:
22          A.       From using or registering to use the BARKBAR mark and any designs,
23                   logos, or marks that are confusingly similar to the DRYBAR mark;
24          B.       From using or registering to use any trade dress that is confusingly similar to
25                   the Pastel Trade Dress; and
26          C.       From representing by any means whatsoever, directly or indirectly, that
27                   Defendants, any products or services offered by Defendants, or any activities
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 20 of 21 Page ID #:20



1                  undertaken by Defendants, are associated or connected in any way with
2                  Drybar;
3           3.     An Order directing Defendants to recall and/or destroy all goods, products,
4     promotional materials or advertisements bearing the BARKBAR mark and/or any other
5     designs, logos, or marks that are confusingly similar to the DRYBAR mark, and directing
6     Defendants to recall and/or destroy all goods and products featuring packaging that is
7     confusingly similar to the Pastel Trade Dress;
8           4.     An Order directing Defendants to file with this Court and serve on Drybar’s
9     attorneys, thirty (30) days after the date of entry of any injunction, a report in writing and
10    under oath setting forth in detail the manner and form in which they have complied with
11    the Court’s injunction;
12          5.     An Order requiring Defendants to account for and pay to Drybar any and all
13    profits arising from the foregoing acts of infringement, false designation of origin, and
14    unfair competition;
15          6.     An Order requiring Defendants to pay Drybar compensatory damages in an
16    amount as yet undetermined caused by the foregoing acts of infringement, false
17    designation of origin, and unfair competition, and trebling such compensatory damages
18    for payment to Drybar in accordance with 15 U.S.C. § 1117 and other applicable laws;
19          7.     An Order requiring Defendants to pay Drybar all types of monetary
20    remedies available under Cal. Bus. & Prof. Code § 17200 in amounts as of yet
21    undetermined caused by the foregoing acts of unfair competition;
22          8.     An Order requiring Defendants to pay Drybar’s costs and attorney’s fees in
23    this action pursuant to 15 U.S.C. § 1117, Cal. Bus. & Prof. Code § 17200, and any other
24    applicable laws; and
25          9.     Other relief as the Court may deem appropriate.
26                                         JURY DEMAND
27          Drybar demands a jury trial on all issues so triable in this action.
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     Case 8:17-cv-02224-JVS-DFM Document 1 Filed 12/21/17 Page 21 of 21 Page ID #:21



1      DATED: December 21, 2017            Respectfully submitted,
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